          Case 3:21-cv-00080-MMD-CLB Document 255 Filed 06/17/22 Page 1 of 3




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 9
                                UNITED STATES DISTRICT COURT
10
                                         DISTRICT OF NEVADA
11

12
     BARTELL RANCH LLC, et al.,                      Lead Case:
13                                                   Case No.: 3:21-cv-00080-MMD-CLB
                           Plaintiffs,
14          v.
15   ESTER M. McCULLOUGH, et al.,
16
                           Defendants,
17   WESTERN WATERSHEDS PROJECT, et al., Consolidated with:
                                         Case No.:   3:21-cv-00103-MMD-CLB
18                 Plaintiffs,
            v.
19                                                         ORDER ON UNOPPOSED TRIBAL
                                                            PLAINTIFFS’ REQUEST FOR
     UNITED STATES DEPARTMENT OF THE
20                                                      EXTENSION OF BRIEFING SCHEDULE
     INTERIOR, et al.,
                                                          (ECF. Nos. 227 & 229) (First Request)
21                         Defendants.

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23          Pursuant to LR 26-3 and LR IA 6-1, Intervenor-Plaintiffs Burns Paiute Tribe and Reno-

     Sparks Indian Colony (“Tribal Plaintiffs”) submit this unopposed request for extension of time


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           Case 3:21-cv-00080-MMD-CLB Document 255 Filed 06/17/22 Page 2 of 3




 1   for Tribal Intervenors to file their joint reply brief in support of their motion for summary

 2   judgement (ECF. Nos. 203 & 205) and response to the motions for summary judgment (ECF.

 3   Nos. 227 & 229) filed by Defendants in this matter presently due on June 20. 2022. No hearing

 4   has been set on the Motions for Summary Judgment.

 5          Specifically, Tribal Plaintiffs seek an extension of seven (7) days for the filing of their

 6   reply/response brief until June 27, 2022. The basis of this request is family obligations of

 7   counsel for the Burns Paiute Tribe. Tribal Plaintiffs inquired whether there was any objection to

 8   this request and no party to this case objected.

 9          For these reasons, Tribal Plaintiffs request the Court for an order extending the time to

10   file their joint reply/response brief until June 27, 2022, as set forth above.

11          Dated this 16th day of June 2022.

12   EICHSTAEDT LAW OFFICE

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         Case 3:21-cv-00080-MMD-CLB Document 255 Filed 06/17/22 Page 3 of 3




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 2   IT IS SO ORDERED.

 3           6/17/2022
     DATED: _________________

 4                               CHIEF U.S. DISTRICT JUDGE MIRANDA M. DU

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